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                                 IN THE UNITED STATES BANKRUPTCY COURT
                                       SOUTHERN DISTRICT OF TEXAS
                                            HOUSTON DIVISION

   IN RE:                                            §    CASE NO. 25-30155
                                                     §
   ALLIANCE FARM AND RANCH, LLC,                     §    (CHAPTER 11)
                                                     §
           DEBTOR                                    §
                                                     §
   IN RE:                                            §    CASE NO. 25-31937
                                                     §
   ALLIANCE ENERGY PARTNERS, LLC,                    §    (CHAPTER 11)
                                                     §
           DEBTOR                                    §
                                                     §

  APPLICATION OF THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
     FOR ENTRY OF AN ORDER AUTHORIZING THE EMPLOYMENT AND
          RETENTION OF DYKEMA GOSSETT, PLLC AS COUNSEL,
                    EFFECTIVE AS OF MAY 13, 2025

THIS APPLICATION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF
YOU OPPOSE THE APPLICATION, YOU SHOULD IMMEDIATELY CONTACT THE
MOVING PARTY TO RESOLVE THE DISPUTE. IF YOU AND THE MOVING PARTY
CANNOT AGREE, YOU MUST FILE A RESPONSE AND SEND A COPY TO THE
MOVING PARTY. YOU MUST FILE AND SERVE YOUR RESPONSE WITHIN 21 DAYS
OF THE DATE THIS WAS SERVED ON YOU. YOUR RESPONSE MUST STATE WHY
THE APPLICATION SHOULD NOT BE GRANTED. IF YOU DO NOT FILE A TIMELY
RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT FURTHER NOTICE TO
YOU. IF YOU OPPOSE THE APPLICATION AND HAVE NOT REACHED AN
AGREEMENT, YOU MUST ATTEND THE HEARING. UNLESS THE PARTIES AGREE
OTHERWISE, THE COURT MAY CONSIDER EVIDENCE AT THE HEARING AND
MAY DECIDE THE APPLICATION AT THE HEARING.

REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.

         The Official Committee of Unsecured Creditors (the “Committee”) of Alliance Farm and

Ranch, LLC and Alliance Energy Partners, LLC (the “Debtors”) hereby submits this application

(“Application”) for entry of an order (the “Proposed Order”), substantially in the form attached

hereto as Exhibit A, authorizing the employment, retention, and compensation of Dykema
126985.000001 4928-2335-4957.1

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Gossett, PLLC (“Dykema”) as counsel to the Committee, effective as of May 13, 2025, pursuant

to sections 327, 328, 330, and 1103(a) of title 11 of the United States Code (the “Bankruptcy

Code”), Rules 2014 and 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”), and Rules 2014-1 and 2016-1 of the Bankruptcy Local Rules for the Southern District of

Texas (the “Local Rules”). In support of this Application, the Committee submits the Declaration

of William Hotze in Support of the Application of the Official Committee of Unsecured Creditors

for Entry of an Order Authorizing the Employment and Retention of Dykema Gossett, PLLC as

Counsel, Effective as of May 13, 2025 (the “Hotze Declaration”), attached hereto as Exhibit B,

which is incorporated herein by reference. In further support of the Application, the Committee

respectfully represents as follows:

                                JURISDICTION AND VENUE

       1.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334

and the Amended Standing Order of Reference from the United States District Court for the

Southern District of Texas, dated May 24, 2012. This matter is a core proceeding within the

meaning of 28 U.S.C. § 157(b). The relief requested is consistent with the U.S. Trustee Guidelines.

The Committee confirms its consent to the entry of a final order with respect to this Application,

if it is determined that the Court would lack Article III jurisdiction to enter such final order or

judgment absent consent of the parties.

       2.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       3.      The statutory predicates for the relief sought herein are sections 327, 328(a), 330,

and 1103(a) of the Bankruptcy Code. Relief is also proper pursuant to Bankruptcy Rules 2014 and




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2016, and Local Rules 2014-1 and 2016-1 and the Procedures for Complex Cases in the Southern

District of Texas (the “Complex Case Procedures”).

                                        BACKGROUND

       4.      On January 7, 2025 (the “Petition Date”), the Debtors filed a voluntary petition for

relief under Chapter 7 of the Bankruptcy Code in this Court.

       5.      On March 19, 2025, the Court entered an order converting these Cases to cases

under Chapter 11 of the Bankruptcy Code (the “Conversion Date”). The Debtors continue to

manage and operate its businesses as debtor-in-possession pursuant to sections 1107(a) and 1108

of the Bankruptcy Code. On April 24, 2025, the Court ordered joint administration of the Debtors’

respective cases.

       6.      On May 12, 2025, pursuant to section 1102 of the Bankruptcy Code, the Office of

the United States Trustee for Region 7 (the “U.S. Trustee”) appointed the Committee, consisting

of the following members: (i) Gordon Technologies LLC, and (ii) DrilTech, LLC. See Docket No.

77.

       7.      On May 13, 2025 (the “Retention Date”), the Committee, in connection with the

exercise of its powers and the performance of the duties conferred upon it pursuant to section 1103

of the Bankruptcy Code, selected Dykema to serve as its counsel in connection with these chapter

11 cases (“Cases”), subject to Court approval.

       8.      On May 23, 2025, the Court entered an order appointing a chapter 11 trustee in

these Cases. Tom A. Howley (the “Trustee”) serves as the chapter 11 trustee.




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                                     RELIEF REQUESTED

       9.      By this Application, the Committee requests entry of the Proposed Order, attached

hereto as Exhibit A, approving the employment and retention of Dykema, effective as of May 13,

2025, which is the date on which the Committee selected Dykema to serve as its counsel and the

date that Dykema began rendering services to the Committee. Subject to the terms set forth herein,

the Committee seeks to retain Dykema in accordance with Dykema’s normal hourly rates in effect

when service are rendered and normal reimbursement policies subject to Local Rule 2016-1.

                    THE RETENTION OF DYKEMA IS WARRANTED

   A. DYKEMA’S EXPERIENCE

       10.     The Committee selected Dykema because Dykema’s attorneys possess extensive

knowledge and considerable expertise in the fields of bankruptcy, insolvency, reorganizations,

creditors' rights, debt restructuring and corporate reorganizations, among other qualifications. In

addition, Dykema’s attorneys possess substantial experience appearing before Courts in this

District and are familiar with local practice and procedure.

       11.     Dykema comprises nearly 400 lawyers who practice in 14 offices throughout the

United States. The attorneys in Dykema’s Bankruptcy and Financial Restructuring group have

played significant roles in a wide array of chapter 11 cases across the country, including acting as

counsel for official committees of unsecured creditors in the following cases: In re Kalera, Inc.,

No. 23-90290 (Bankr. S.D. Tex. 2023); In re Connect Transport, Inc., No. 16-33971-hdh7 (Bankr.

N.D. Tex. 2016); In re Dune Energy, Inc., No. 15-10336 (Bankr. W.D. Tex. 2015); In Yellow Cab

Affiliation, Inc., No. 15-9539 (Bankr. N.D. Ill. 2015); In re Texas Rangers Baseball Partners, No.

10-43400 (DML) (Bankr. N.D. Tex. 2010); In re Gulf Fleet Holdings, Inc., No. 10-50713 (Bankr.



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W.D. La. 2010); In re Deep Marine Holdings, Inc., No. 09-39313 (Bankr. S.D. Tex. 2009); In re

Encompass Services Corp., No. H-06-CV-0392 (Bankr. S.D. Tex. 2006); and In re AgriBiotech,

Inc., No. 00-10533 (Bankr. D. Nev. 2000). The cases listed above are a small sample of Dykema’s

experience representing official committees of unsecured creditors.

       12.      The Committee believes that Dykema is well qualified to serve as its counsel in this

Case. Further, employment of Dykema, effective as of May 13, 2025, is warranted under the

circumstances of this chapter 11 Case. Upon its selection, the Committee requested that Dykema

commence work immediately on time-sensitive matters and devote substantial resources to this

Case prior to the submission and approval of this Application. Among other things, Dykema was

immediately required to address matters related to the Debtor’s proposed debtor-in-possession

financing and motion to approve auction procedures.

   B. SERVICES TO BE PROVIDED

       13.      Dykema will, in connection with this Case and subject to this Court’s orders,

provide the following legal services, among others, to the Committee:

             a. advise the Committee with respect to its rights, duties, and powers in this Case;

             b. Participate in in-person and telephonic meetings of the Committee and
                subcommittees formed thereby, if any;

             c. assist and advise the Committee in its meetings and negotiations with the Trustee
                and other parties in interest regarding the chapter 11 Case;

             d. assist the Committee in analyzing claims asserted against, and interests in, the
                Debtors, and in negotiating with the holders of such claims and interest and
                bringing, or participating in, objections or estimation proceedings with respect to
                such claims and interests;

             e. assist the Committee in analyzing the Debtors’ assets and liabilities, including in
                its review of the Debtor’s Schedules of Assets and Liabilities, Statements of
                Financial Affairs, and other reports prepared by the Debtor, investigating the extent
                and validity of liens and participating in and reviewing any proposed transfer, sale,

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             or disposition of the Debtors’ assets, financing arrangements, and cash collateral
             stipulations or proceedings;

         f. assist the Committee in its investigation of the acts, conduct, assets, liabilities,
            management, and financial conditions of the Debtors, the Debtors’ historic and
            ongoing operations of its business, and any other matters relevant to the chapter 11
            Case;

         g. assist the Committee in its analysis of, and negotiations with the Debtors or any
            third party related to, financing, asset disposition transactions, and compromises of
            controversies, reviewing and determining the Debtors’ rights and obligations under
            leases and executory contracts, and assisting, advising, and representing the
            Committee in any manner relevant to the assumption and rejection of executory
            contracts and unexpired leases;

         h. assist the Committee in its analysis of, and negotiations with, the Debtors or any
            third party related to, the formulation, confirmation, and implementation of a
            chapter 11 plan and all documentation related thereto (including the disclosure
            statement);

         i. assist, advise, and represent the Committee in understanding its powers and duties
            under the Bankruptcy Code and the Bankruptcy Rules and in performing other
            services as are in the interests of those represented by the Committee;

         j. assist and advise the Committee with respect to communications with the general
            creditor body regarding significant matters in the Case;

         k. respond to inquiries from individual creditors as to the status of, and developments
            in, the Case;

         l. represent the Committee at hearings and other proceedings before the Court and
            other courts or tribunals, as appropriate;

         m. review and analyze complaints, motions, applications, orders, and other pleadings
            filed with the Court, and advise the Committee with respect to formulating positions
            with respect, and filing responses, thereto;

         n. assist the Committee in its review and analysis of, and negotiations with the Debtors
            and their non-Debtor affiliates related to intercompany claims and transactions;

         o. review and analyze third-party analyses and reports prepared in connection with the
            Debtors’ potential claims and causes of action, advise the Committee with respect
            to formulating positions thereon, and perform such other diligence and independent
            analysis as may be requested by the Committee;



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             p. advise the Committee with respect to applicable federal and state regulatory issues,
                as such issues may arise in the Case;

             q. assist the Committee in preparing pleadings and applications, and pursuing or
                participating in adversary proceedings, contested matters, and administrative
                proceedings as may be necessary or appropriate in furtherance of the Committee’s
                duties;

             r. take all necessary or appropriate actions as may be required in connection with the
                administration of the Debtors’ estates, including with respect to a chapter 11 plan
                and related disclosure statement; and

             s. perform such other legal services as may be necessary or as may be requested by
                the Committee in accordance with the Committee’s powers and duties as set forth
                in the Bankruptcy Code.

       14.      Dykema will coordinate with all other estate professionals, including the Trustee’s

professionals and other appointed committees, if any, to avoid duplication of efforts.

   C. DYKEMA’S RATES AND BILLING PRACTICES

       15.      The Committee requests that all legal fees and related costs and expenses incurred

by the Committee on account of services rendered by Dykema in the Case be paid as administrative

expense of the Debtor’s estate pursuant to sections 328, 330(a), 331, 503(b), and 507(a) of the

Bankruptcy Code. Subject to the Court’s approval, Dykema will charge the Committee for its

legal services on an hourly basis in accordance with its ordinary and customary hourly rates in

effect on the date such services are rendered.

       16.      Dykema intends to apply to this Court for allowance of compensation and

reimbursement of expenses in accordance with the applicable provisions of the Bankruptcy Code,

the Bankruptcy Rules, the Local Rules, the U.S. Trustee Guidelines, and any further orders of this

Court for all services performed and expenses incurred since April 26, 2023.

       17.      The primary attorneys and paraprofessionals that will work on this representation

and their respective discounted hourly rates for this matter are as follows:

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       Name                               Title                               Hourly Rate
       William Hotze                      Member                              $675
       Nicholas Zugaro                    Senior Counsel                      $630



       18.     Other attorneys and paraprofessionals may render services to the Committee as

needed.

       19.     Pursuant to section 328(a) of the Bankruptcy Code, the Committee may retain

Dykema on reasonable terms and conditions. The hourly rates set forth above are discounted from

the firm’s standard hourly rates for work of this nature. The firm’s standard rates are set at a level

designed to compensate the firm fairly for work of its attorneys and paralegals and to cover fixed

and routine overhead expenses.

       20.     Dykema has advised the Committee that the hourly rates set forth above are subject

to annual increases in the normal course of Dykema’s business. In the event of any such increase,

Dykema will provide the U.S. Trustee and the Committee with written notice of any such increase

and file a supplemental affidavit (a “Supplemental Affidavit”) with the Court. Any Supplemental

Affidavit will explain the basis for the requested rate increase in accordance with section

330(a)(3)(F) of the Bankruptcy Code. Pursuant to section B(2)(d) of the U.S. Trustee Guidelines,

Dykema will provide justification of the reasonableness of any rate increase.

       21.     In addition, it is Dykema’s policy to charge its clients in all areas of practice for all

other expenses incurred related to the representation. The expenses charged to clients include,

among other things, postage in excess of $2.50 and express mail charges, special or hand delivery

charges, internal photocopying charges, external photocopying charges at the actual cost charged,

print charge for documents in excess of 10 pages at $.20 per page, travel expenses, expenses for



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“working meals,” and computerized research. Dykema does not charge for long distance calls

other than hosted conference calls at vendor’s rate. Dykema does not charge for incoming or

outgoing telecopier services. Otherwise, Dykema will charge the Debtor for expenses in a manner

and at rates consistent with charges made generally to Dykema’s other clients and consistent with

this Court’s rules and the applicable U.S. Trustee Guidelines. Dykema has advised the Committee

that it will charge all costs and expenses in accordance, and only to the extent consistent, with the

Bankruptcy Code, the Bankruptcy Rules, the Local Rules, and the U.S. Trustee Guidelines.

       22.     Dykema did not receive any retainer from the Debtors, the Trustee, the Committee,

or any other entity in this Case. Other than as set forth herein, there is no proposed arrangement

to compensate Dykema. Pursuant to Bankruptcy Rule 2016(b), Dykema has not shared or agreed

to share (i) any compensation it has received or may receive with any other party or person, other

than with the partners, counsels, associates, and contract attorneys associated with Dykema, or (ii)

any compensation another person or party has received or may receive.

       23.     The Committee believes the compensation arrangements with Dykema are

consistent with and typical of arrangements entered by Dykema and other law firms with respect

to rendering similar services for clients such as the Committee.

       24.     Dykema’s compliance with the requirements of Bankruptcy Code sections 327,

328, 330, and 504 and Bankruptcy Rule 2014 is further set forth in detail in the Hotze Declaration.

   D. DYKEMA’S DISINTERESTEDNESS AND DISCLOSURE CONCERNING CONFLICTS OF
      INTEREST

       25.     Based upon the Hotze Declaration annexed hereto, the Committee is satisfied that

(i) Dykema is a “disinterested person” as that term is defined in section 101(14) of the Bankruptcy

Code and represents no interest adverse to the Committee, the Debtors, their estates, or any other


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party in interest in the matters upon which it is to be engaged, (ii) Dykema has no connection with

the U.S. Trustee or any other person employed in the office of the U.S. Trustee, except as otherwise

disclosed in the Hotze Declaration, and (iii) Dykema has not been paid any retainer against which

to bill fees and expenses. To the best of the Committee's knowledge, Dykema has no connection

with creditors or any other party-in-interest except as otherwise noted in the Hotze Declaration.

         26.   As described in the Hotze Declaration, Dykema analyzed the list of interested

persons and entities annexed to the Debtor’s retention applications and ran the list of relevant

parties in interest included on Schedule 1 to the Hotze Declaration through its conflicts system

consistent with the U.S. Trustee’s requirements. Dykema does not represent, or have any other

connection with, any of the parties in interest listed on Schedule 1 to the Hotze Declaration, except

as set forth below and in the Hotze Declaration. While employed by the Committee, Dykema will

not represent any entity having an adverse interest to the Committee in connection with these

Cases.

         27.   Dykema’s conflict search resulted in the disclosures set forth on Schedule 2 to the

Hotze Declaration.    The Committee is aware that Dykema currently represents certain interested

parties in matters wholly unrelated to Case, as further identified in the Hotze Declaration and listed

on Schedule 2 thereto.

         28.   Dykema does not and will not represent any such interested parties in any matter

related to the Debtors or the Trustee. The Committee and Dykema believe that neither a potential

nor an actual conflict of interest exists regarding Dykema’s representation of the Committee as a

result of the foregoing connections. The foregoing connections, however, are disclosed to provide

the Court and other parties in interest an opportunity to make their own independent determination.



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If any such potential conflicts arise and if ethical or business considerations advise against Dykema

undertaking such representation, then separate counsel will handle those matters.

       29.     Except as described above and in the Hotze Declaration, Dykema is not aware of

any other connections with the Debtors, the Trustee, creditors, any other parties in interest, their

respective attorneys and accountant, the United States Trustee, or any person employed in the

Office of the United States Trustee. Should Dykema identify any other connections in the future,

the Committee and Dykema will supplement this Application and the Hotze Declaration as

appropriate.

                            NOTICE AND NO PRIOR REQUEST

       30.     Notice of this Application is being served pursuant to Local Rule 9003-1. The

Committee respectfully submits that no further notice of this Application is required.

       31.     No prior application for the relief requested herein has been made to this or any

other court.

       WHEREFORE, the Committee respectfully requests that the Court enter an order,

substantially in the form attached hereto as Exhibit A, (i) authorizing the Committee to retain and

employ Dykema, effective as of May 13, 2025, and (ii) granting such other and further relief as

may be just and proper under the circumstances.




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Dated: June 12, 2025

                                       Respectfully submitted,


                                       THE OFFICIAL COMMITTEE OF UNSECURED
                                       CREDITORS OF ALLIANCE FARM AND RANCH,
                                       LLC AND ALLIANCE ENERGY PARTNERS, LLC

                                         By: /s/ David Freer
                                         David Freer
                                         As co-chairman

                                         By: /s/ Brad Vincent
                                         Brad Vincent
                                         As co-chairman




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                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on this 12th day of June 2025, the foregoing
Application was filed with the Court and served (i) via the Court’s CM/ECF system to all of the
parties registered to receive such notice and (ii) pursuant to Local Rule 9003-1.



                                       /s/ William Hotze
                                           William Hotze




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